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                             SO U THERN DISTR ICT O F FLOR ID A

                              CivilN o.l6-8lgo4-clv -M arra/M atthew m an

  TRA CY AN N RO W ETT and
  SU SAN JEN NIFER W ILK EN S,

        Plaintiffs,                                              FJLED BY                     D.C .
  VS.
                                                                       JAN 23 Lr
                                                                               bi1p
                                                                                  u
  W ISH W A SH 2 LLC,etal.,                                            STEVEN M.LARIM OBE
                                                                        CLEFiX U S.DIS'ECTI
                                                                        S D OFFL..A .$9PB,
         Defendants.



                                QR DER SETTING HEAG NG
         TH IS CA U SE isbefore the Courtupon D efendants,W ish W ash 2 LLC ,K hainm issa

  M andani,andNuruddin M andani's(ir efendants'')SecondM otiontoCompel(ûçM otion'')(DE
  411. Thismatterwasreferredtotheundersigneduponan Orderrefeningalldiscoverymattersto
  the undersigned forappropriate disposition. See DE 16.

         Afterparefulreview ofM otion and becausethepartiesareunableto resolvethism atter

  withoutCourtintervention,itisherebyORDERED thatahearingontheM otion gDE 41)shallbe
  held asfollows:

                              DA TE:         Tuesday,January 9,2018
                              TIM E:         2:00 P.M .
                              PLA CE :       U nited States D istrictCourt
                                             701 Clem atis Street
                                             W estPalm Beach,Florida
                                             Courtroom : to bedeterminedk

  Cotm selforthe parties shallappear in person atthe hearing.
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         DONE and ORDERED in Chambersthis 3          dayofJanuary, 2018,atW estPalm   Beach,

  Palm Beach County in the Southern D istrictofFlorida.




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                                            UN ITED STA TES M A G ISTM TE JU DG E




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